      Case 1:23-cr-00490-SHS                Document 269           Filed 04/01/24   Page 1 of 1



UNITED STATES DISTRJCT COURT
SOUTHERN DISTRJCT OF NEW YORK
---------------------------------------------------------------x

UNITED STATES OF AMERJCA,                                            23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                    ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
---------------------------------------------------------------x

SIDNEY H. STEIN, U.S. District Judge.

       If Mr. Dienst intends to move to seek an unsealing order he should have an attorney do so
pursuant to Fed. R. Crim. P. 47 on or before April 5, 2024. See ECF Doc. No. 268. Any
responses are due by April 10, 2024.

Dated: New York, New York
       April 1, 2024

                                                     SO ORDERED:




                                                      /4~~ US.DJ
